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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

UNITED STATES OF AMERICA                     §
                                             §
v.                                           §      CASE NO. 3:15-CR-431-K
                                             §
MAN KHAC NGUYEN (01)                         §


     ORDER ACCEPTING FINDINGS AND RECOMMENDATION OF THE
               UNITED STATES MAGISTRATE JUDGE

      Before the Court is the Psychiatric Evaluation Report (“Report”) by Robert E.

Cochrane, Psy.D., ABPP, filed on September 9, 2016.          The Court referred this

Report and case as to Defendant Man Khac Nguyen to U.S. Magistrate Judge Paul D.

Stickney, on September 12, 2016, for a competency hearing.

      On November 16, 2016, U.S. Magistrate Judge Paul D. Stickney held a

competency hearing regarding this Report, and Defendant Nguyen offered no

objection to the report, and through counsel, offered no evidence or argument.

      No objections have been filed by the Government or Defendant. The District

Court has reviewed the proposed findings and recommendation for plain error.

Finding no error, the Court ACCEPTS the Findings and Recommendation of the

United States Magistrate Judge.

      It is ORDERED that the findings contained in the Report by Robert E.

Cochrane, Psy.D., ABPP of Defendant Man Khac Nguyen regarding competency, are

hereby adopted.
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       Therefore, the Court finds that Defendant Man Khac Nguyen is competent to

stand trial.

       A scheduling order shall issue setting this case for trial.

       SO ORDERED.

       Signed December 13th, 2016.




                                          ______________________________________
                                          ED KINKEADE
                                          UNITED STATES DISTRICT JUDGE
